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                    Exhibit B
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                                        Debra Tinlin                 February 8, 2017
                          In Re: Bard IVC Filters Products Liability

                                                                      Page 1

1                   IN THE UNITED STATES DISTRICT COURT
2                       FOR THE DISTRICT OF ARIZONA
3
4
5
6              IN RE
7
               BARD IVC FILTERS PRODUCTS LIABILITY LITIGATION
8
9
10                                             No. MD-15-02641-PHX-DGC
11
12
13
14
15             VIDEOTAPED DEPOSITION OF DEBRA A. TINLIN
16
                    TAKEN AT:     SPRINGHILL SUITES BY MARRIOTT
17                     LOCATED AT:        1011 Tony Canadeo Run
                                 Green Bay, Wisconsin
18                                  February 8, 2017
                                8:58 a.m. to 3:50 p.m.
19
20
21
22
23                      REPORTED BY ANNICK M. JAQUET
                          REGISTERED MERIT REPORTER
24                      CERTIFIED REALTIME REPORTER
25

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                                                                      Page 2

1                              A P P E A R A N C E S:
2
                    LOPEZ MCHUGH, LLP, by
3                   Mr. Joshua M. Mankoff
                    214 Flynn Avenue
4                   Moorestown, New Jersey 08057-1767
                    (856) 273-8500
5                   jmankoff@lopezmchugh.com
                    Appearing on behalf of the Plaintiff.
6
7                   NELSON, MULLINS, RILEY & SCARBOROUGH, LLP, by
                    Ms. Brandee J. Kowalzyk
8                   201 17th Street, NW #1700
                    Atlanta, Georgia 30363-1099
9                   (404) 322-6000
                    brandee.kowalzyk@nelsonmullins.com
10                  Appearing on behalf of the Defendant.
11
                    ALSO PRESENT:    Andrew Gallun, videographer
12
13
14
15
16
17                                        I N D E X
18
               Examination by:                                            Page:
19
20             Ms. Kowalzyk ................................ 6
21
22
23
24
25

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                                                                     Page 88

1              ER at that time?
2       A      Pain in my back.
3       Q      Okay.    So can you describe the pain in your
4              back that you were experiencing that brought
5              you to the ER on May 4, 2005?
6       A      Kind of a sharp pain in back of my lungs.
7       Q      So is it your understanding that that pain was
8              a result of the pulmonary embolism?
9       A      Yes.
10      Q      And did -- did the doctors tell you that you
11             had developed additional clots even though you
12             had been on the Lovenox?
13      A      Yes.
14      Q      Prior to having the recovery filter placed in
15             you on May 7, 2005 had you ever heard of IVC
16             filters before?
17      A      No.
18      Q      Who was the first person to recommend that you
19             have a filter placed?
20      A      I had a pulmonologist and a hematologist at the
21             time I was in the hospital and they were
22             together when they recommended it, and I do not
23             remember their names.
24      Q      Did they tell you that they were recommending a
25             filter because you were at risk of an

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                                                                     Page 89

1              additional pulmonary embolism?
2       A      Yes.
3       Q      And did they tell you that the reason they
4              recommended a filter as an additional mechanism
5              to try to prevent the pulmonary embolism was
6              because you were -- you had developed the clots
7              even while on the blood thinning medication?
8                           MR. MANKOFF:           Object to form.
9                           THE WITNESS:           I believe that's what
10             they said, yes.
11             BY MS. KOWALZYK:
12      Q      Did they talk about any other options for
13             treatment other than the filter at that time?
14      A      They told me I would have to be on Coumadin for
15             the rest of my life.
16      Q      And did they tell you if they were recommending
17             that you have a filter placed permanently or
18             temporarily?
19      A      I don't remember anything about -- I thought it
20             was in there forever.
21      Q      Did you understand that the recovery filter or
22             other inferior vena cava filters were a medical
23             device that could be retrieved if your doctors
24             determined it was no longer necessary?
25      A      No.

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                                                                    Page 165

1       Q      Do you have a calendar where you write down all
2              your appointments and stuff?
3       A      We just have one of those erasable ones on the
4              refrigerator and, you know, every month if I
5              have one coming up I write it on there.
6       Q      Got it.     Have you ever talked to anyone at
7              Bard?
8       A      No.
9       Q      Other than your attorneys and your family have
10             you discussed your lawsuit with anybody else?
11      A      No.
12      Q      And I know that you have a Facebook page.
13      A      I have a Facebook page, but I've never posted
14             anything on it.
15      Q      Okay.     Do you belong to Instagram or any of the
16             other social media?
17      A      No.     I have a Facebook page because my best
18             friend who lived next door for years moved to
19             Indiana and she does a lot of social media and
20             the only way I can see it is to have a Facebook
21             page to look at it.
22      Q      Got it.
23      A      That's the only reason I have a Facebook page.
24             She has posted two pictures on my Facebook
25             page, but I have never put anything on it.

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